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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,

             Plaintiff,

v.                                                 Case No. 11-20129

SCOTT WILLIAM SUTHERLAND et al.

             Defendants.
                                              /

UNITED STATES OF AMERICA,

             Plaintiff,

v.                                                 Case No. 11-20066


JEFF GARVIN SMITH et al.,

             Defendants.
                                              /

UNITED STATES OF AMERICA,

             Plaintiff,

v.                                                 Case No. 12-20387

SMILEY VILLA et al.,

             Defendants.
                                              /

                          ORDER SETTING STATUS CONFERENCE

      On September 24, 2012, the court conducted a status conference, on the record,

in the above-captioned cases. During the conference, the court discussed various case

management issues presented in these multi-defendant cases, and assigned certain
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tasks to aid in the expedient resolution of those issues. For the reasons stated on the

record,

           IT IS ORDERED that, by October 3, 2012, the Government shall file a Discovery

Memorandum, generally outlining a fair approximation of the nature and volume of

discovery it currently intends to distribute.

           IT IS ORDERED that, by October 3, 2012, Attorney William W. Swor shall

submit to the court via email a recommended resolution of the discovery issues

discussed on the record at the September 24, 2012 status conference, relating to the

costs and complications of distributing electronic discovery material to Defendants.

           IT IS ORDERED that by October 3, 2012, Attorney Margaret S. Raben shall

circulate among all Defense Counsel and Government Counsel, a proposal for obtaining

concurrence and joinder in future motions and practical suggestions for electronically

filing such motions. Ms. Raben shall receive and consider any suggestions and then,

by October 10, 2012, file a memorandum detailing her proposal for a suggested motion

protocol.

           Finally, IT IS ORDERED that liason counsel are DIRECTED to appear for a

status conference on November 5, 2012 at 3:00 p.m.

                                                                  s/Robert H. Cleland
                                                                  ROBERT H. CLELAND
                                                                  UNITED STATES DISTRICT JUDGE
Dated: September 28, 2012

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, September 28, 2012, by electronic and/or ordinary mail.

                                                                  s/Lisa Wagner
                                                                  Case Manager and Deputy Clerk
                                                                  (313) 234-5522


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